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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  ABILENE DTYISION

W.M.M., on his own behalf and on behalf of
all others similarly situated, et al.,

         Petitioners-Plaintiffs,

                                                            No. 1:25-CV-059-H

DONALD J. TRUMP, in his official
capacity as President ofthe United States, et
al.,

         Respondents-Defendants.

                                            OR.DER

       Before the Court is a motion for leave to flle an amicus-curiae brief. Dkt. No. 69.

The motion (Dkt. No. 69) is granted. The amicus brief @kt. No. 70) is permitted.

        So ordered on May /     I , 2625.


                                                J      WESLEY        RIX
                                                       D STATES DISTRICT JUDGE
